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                                                                                               FILED
                                                                                          IN OPEN COURT



                                                                                          SEP I 0 2019
                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA                               CLE: -v, U.S. Oif.irvLT COURT
                                                                                                     V--.'   ; •.



                                      Alexandria Division



 UNITED STATES OF AMERICA
                                                       No. l:19-CR-269
         V.

                                                       The Honorable Leonie M.Brinkema
 MARKE.TOLSON,

                Defendant.


                                   STATEMENT OF FACTS


       The United States and Defendant, MARK E. TOLSON,agree that the following facts are

true and correct, and that had this matter proceeded to trial, the United States would have proven

beyond a reasonable doubt with admissible and credible evidence that the Defendant, on or about

October 31, 2018, in the Eastern District of Virginia, did intentionally access without

authorization the email account of J.B.—to wit, a communications facility directly related to and

operated in conjunction with a computer used in and affecting interstate and foreign commerce

and communication—and thereby obtained information from that computer, all in violation of 18

U.S.C. § 1030(a)(2)(C).

       The United States and the defendant further agree that at trial, the United States would

have proven the following facts beyond a reasonable doubt with admissible and credible

evidence:


       1.      In and around October 2018,the defendant was employed by the Federal Bureau

ofInvestigatibn as a management and program analyst. He is married to Sarah Gilbert Fox, and,

in and around October 2018, resided in Arlington, Virginia, which is within the Eastern District^

of Virginia.
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       2.      From around October 2017 to early summer 2018,Fox worked for an individual

who lives near the defendant and Fox and is identified herein as J.B. Fox's job duties included,

among other things, accessing J.B.'s web-based email account hosted by Google (hereinafter,
"the Account"), and, as a result, J.B. provided Fox with his login credentials for the Account.

As late as November 2,2018,Fox has claimed that J.B. owed her money for the work she

performed.

       3.      Sometime on or before October 30,2018,the defendant learned that J.B. had

scheduled a press conference for November 1,2018,for purposes of releasing information that

allegedly would discredit a particular government official and, by extension, an investigation that

the government official was conducting.

       4.      On October 30,2018^ while at their residence in Arlington, Virginia, the

defendant asked Fox to attempt to log into the Account to see ifshe still had access. Fox

thereafter successfully logged into the Account from her laptop. The defendant then told Fox to

log out, and she did.

       5.      The next day, on October 31,2018,the defendant from his residence in Arlington,

Virginia, attempted to log into the Account through the Tor Network, a computer network

designed specifically to facilitate anonymous Internet browsing. The defendant, however, was

unable to login. Fox then accessed the Account firom her laptop and the defendant

simultaneously logged into the Account from his desktop. The pair then spent 15 to 20 minutes

conducting searches within the Account,reviewing emails within the Account, printing out

emails of interest, and photographing and screenshotting emails of interest. After a popup

message appeared asking whether the defendant and Fox were permitted in the Account,they
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both signed out. Shortly thereafter, the defendant tried to log back into the Account but was
denied access.


       6.        Fox then used an encrypted messaging application to contact a reporter for

purposes of sharing the information that was obtained. The defendant subsequently used his
personal email to provide the reporter with screenshots of emails, and offered to provide the
reporter with the password for the Account. The reporter, however, declined to accept the
password.

       7.        On November 1,2018,the defendant sent an email to an FBI official requesting

an in-person meeting regarding an "urgent" matter. The defendant met with this official later

that day and provided a sealed envelope. The defendant advised that the contents ofthe
envelope may be "illegal" and concerned a press conference that J.B. had scheduled for later that

day. The defendant admitted that Fox and he had accessed the Account and retrieved the

material contained in the envelope. He also admitted that, after logging into the Account,Fox

and he realized that they were possibly doing something wrong and thereafter logged out.

                                         CONCLUSION


       8.        This Statement of Facts includes those facts necessary to support the plea

agreement between the defendant and the United States. It does not include each and every fact

known to the defendant or to the United States, and it is not intended to be a full enumeration of

all ofthe facts surrounding the defendant's case.
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       9.     The actions ofthe defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.


                                             Respectfully submitted,

                                             G.Zachary Terwilliger
                                             United States Attorney


 Date: September 10.2019
                                             Alexander P. Berrang
                                             Assistant United States Attome
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       After consulting with my attorney and pursuant to the plea agreement entered into this day
between the defendant, MARK E. TOLSON, and the United States, I hereby stipulate that the
above Statement ofFacts is true and accurate, and that had the matter proceeded to trial,the United
States would have proved the same beyond a reasonable


                                                          OLSO



       I am Edward B. MacMahon, Jr., the defendant's attorney. I have carefully reviewed the

an informed and voluntary one.                                   ^
above Statement ofFacts with him. To my knowledge, his decision to stipulate to these facts is



                                             Edward B. MacMahon, Jr., Esq.
                                             Counsel for the Defendant
